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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

BNSF RAILWAY COMPANY, a                   )
Delaware Corporation authorized to        )
do business in Nebraska,                  )                  4:16CV3121
                                          )
                      Plaintiff,          )
                                          )
               v.                         )              MEMORANDUM
                                          )               AND ORDER
SEATS, INCORPORATED, a                    )
Wisconsin Corporation,                    )
                                          )
                      Defendant.          )
                                          )

       Plaintiff BNSF alleges that in 2015, it settled a contested Federal Employers’
Liability1 (“FELA”) and Locomotive Inspection Act2 (“LIA”) action with an employee
engineer. (Filing 1, Complaint ¶¶ 16 & 19.) The engineer alleged that the backrest of
his locomotive seat gave away suddenly and without warning as a result of an
allegedly defective reclining mechanism, resulting in career-ending injuries to his
back. (Id. ¶¶ 15 & 17.) He claimed the locomotive seat—which was designed,
manufactured, and marketed by the defendant in this action, Seats, Inc., and installed
by General Electric (“GE”)—did not comply with the federal standards set forth in the
LIA because it was not in proper condition and safe to operate without unnecessary
danger of personal injury. (Id. ¶¶ 12-14, 18.)

        In the action now before this court, BNSF alleges that Seats, Inc., contracted to
sell locomotive seats to GE, a locomotive manufacturer, for use in GE’s locomotives,
including the one in which the BNSF employee engineer was injured. (Id. ¶¶ 8-9.)
BNSF claims it is a third-party beneficiary of this contract between Seats, Inc., and


      1
          45 U.S.C. § 51, et seq.
      2
          49 U.S.C. § 20701, et seq.
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GE to supply and install seats in locomotives used in interstate commerce that were
safe, suitable for their intended use, and in compliance with the LIA. (Id. ¶ 11.) In this
diversity action alleging products liability based on both negligence and strict liability,
breach of contract, and equitable subrogation, indemnity, or contribution, BNSF seeks
to recover from Seats, Inc., the amount of the settlement, expenses, and attorneys’ fees
incurred as a result of the physical harm caused to BNSF’s engineer by the defective,
non-LIA-compliant seat.

      Defendant Seats, Inc., has filed a motion to dismiss pursuant to Fed. R. Civ. P.
12(b)(6), arguing that (1) all of BNSF’s claims are preempted by the LIA; (2) BNSF’s
breach of contract claim fails to state a claim because BNSF is not an intended third-
party beneficiary of the subject contract; and (3) BNSF’s equitable subrogation,
indemnity, or contribution allegations fail to state a claim because Seats, Inc., and
BNSF do not share a common liability. (Filing 8.)

                                 LIA PREEMPTION

        The LIA sets standards for locomotives and its “parts and appurtenances,”
generally requiring them to be “in proper condition and safe to operate without
unnecessary danger of personal injury.” 49 U.S.C. § 20701(1). In Napier v. Atlantic
Coast Line R. Co., 272 U.S. 605 (1926), the United States Supreme Court held that
the LIA’s predecessor—the Boiler Inspection Act (“BIA”)—“occupied the field of
regulating locomotive equipment . . . so as to preclude state legislation” requiring that
locomotives contain fireboxes with automatic doors and cab curtains, neither of which
were required by federal law. Id. at 607. The Court found that the power delegated
to the Interstate Commerce Commission by the BIA “is a general one,” “was intended
to occupy the field,” and “extends to the design, the construction, and the material of
every part of the locomotive and tender and of all appurtenances.” Id. at 611, 613.

      The United States Supreme Court reaffirmed the broad preemptive scope of the
LIA in Kurns v. Railroad Friction Products Corp., 132 S. Ct. 1261 (2012), holding

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that the Act preempts the entire field of regulating locomotive equipment, including
state common-law tort claims for defective design and failure to warn against
manufacturers of locomotive equipment. The Court stated that “[b]ecause petitioners’
claims are directed at the equipment of locomotives, they fall within the pre-empted
field” which “admits of no exception for state common-law duties and standards of
care.” Id. at 1269.

        BNSF attempts to circumvent the Court’s holding in Kurns that state-law tort
claims “directed to the subject of locomotive equipment” are preempted by the LIA,
id. at 1270, by alleging that Seats, Inc., violated the federal standard of care imposed
by the LIA, not a standard of care under Nebraska law.3 (Filing 11, Pl.’s Br. Opp’n


      3
        BNSF does not seem to dispute the proposition that the LIA preempts state
common-law tort claims based on state standards of care. See United Transp. Union
v. Foster, 205 F.3d 851 (5th Cir. 2000) (authored by Eighth Circuit Court of Appeals
Judge Magill) (because LIA completely occupies the field of locomotive equipment
regulation, state statute that required bell and whistle or horn on locomotive engines
was invalid); Oglesby v. Delaware & Hudson Ry. Co., 180 F.3d 458 (2nd Cir. 1999)
(in suit brought by injured railroad employee against manufacturer of allegedly
defective locomotive seat for failure to warn, court held that LIA applies to
manufacturers of component parts of locomotives, and LIA preempts both state
statutory and common-law remedies relating to locomotive safety); Evans v. Union
Pac. R.R. Co., No. 13-cv-1732, 2015 WL 1945104 (D. Colo. Apr. 29, 2015) (evidence
related to defective design of locomotive seats was inadmissible because LIA
preempted such claim); Estate of Brust v. ACF Indus., LLC, 127 A.3d 729, 740-41
(N.J. Super. 2015) (state negligence and products-liability claims based on design and
manufacture of asbestos-contaminated locomotive brake shoes were “directed at ‘the
subject of locomotive equipment,’” making them “preempted under the sweeping field
preemption adopted in Napier, and reaffirmed in Kurns”; noting that such claims
would affect “‘the design, the construction, and the material’ of locomotives,
including claims for failure-to-warn” (quoting Kurns, 132 S. Ct. at 1267)); Wright v.
Gen. Elec. Co., 242 S.W.3d 674 (Ky. Ct. App. 2007) (LIA preempted railroad
employee’s asbestos-related state tort claims against manufacturers of locomotive and
its parts); Darby v. A-Best Prod. Co., 811 N.E.2d 1117 (Ohio 2004) (LIA preempts
state-law tort claims against manufacturers of locomotive equipment asserting injury
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Def.’s Mot. to Dismiss at CM/ECF p. 3.) BNSF argues that because Napier and
Kurns involved state-law claims that were premised upon state duties and standards
of care, those case are inapplicable to this action, which is based on the defendant’s
“violations of the LIA and their promises to provide LIA-compliant seats.” BNSF
explicitly represents that it “is not seeking to hold Seats accountable to a Nebraska
standard of care, but rather to hold Seats accountable to provide a locomotive seat ‘in
compliance with federal standards.’” (Filing 11 at CM/ECF pp. 5-6.) See Delaware
& Hudson Ry. Co., Inc. v. Knoedler Mfrs., Inc., 781 F.3d 656 (3rd Cir. 2015) (in case
where railroad withdrew its product-liability and negligence claims, but asserted
claims for indemnification, contribution, and breach of contract against equipment
supplier and manufacturer for defective locomotive seats, court held that state claims
based on federal standard of care not preempted by LIA; noting that “railroads would
be left with no remedy” if court held otherwise and that “the enforcement under state
law of a federal standard of care does not undermine national uniformity because it
does not impose conflicting regulations that a railroad must heed during interstate
travel”); BNSF Ry. Co. v. Seats, Inc., 349 P.3d 1096 (Ariz. App. Ct. 2015) (LIA does
not preempt railroad’s state-law claims alleging that locomotive seat manufacturer
failed to comply with federal standard of care set forth in LIA because application of
federal standard does not threaten to undermine goal of nationally uniform railroad
operating standards); Engvall v. Soo Line R.R. Co., 632 N.W.2d 560 (Minn. 2001)
(LIA does not preempt state actions based upon violation of federal standard of care
set forth in the LIA, thus allowing railroad to bring state-law contribution claim
against locomotive manufacturer).

      Several courts have specifically rejected the above cases or have refused to
recognize an exception to the broad scope of LIA preemption set forth in Napier and
Kurns for claims asserting violations of a federal standard of care under the LIA.
Stevenson v. Union Pac. R. Co., No. 4:07CV00522, 2009 WL 129916 (E.D. Ark. Jan.
20, 2009) (railroad’s state-law negligence and strict-liability claim for contribution


caused by exposure to asbestos).
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and indemnity against locomotive seat manufacturer was preempted by LIA because
the “subject matter of the claim falls within the preempted field,” which extends to the
design, construction, and material of every part of the locomotive; explicitly rejecting
Engvall and railroad’s argument that it was not relying on state-law standard; stating
that LIA preemption of state tort actions against locomotive-part manufacturers
“applies whether a direct action is brought against the manufacturer or a claim for
indemnity and/or contribution” because “[a]ny claim, whether state or federal, based
on LIA standards would necessarily affect the locomotive design, construction, and
material decisions made by railroads” (internal quotation and citation omitted;
emphasis added)); Roth v. I & M Rail Link, L.L.C., 179 F. Supp. 2d 1054 (S.D. Iowa
2001) (state-law negligence claims against locomotive manufacturer brought by
administrator of deceased train conductor’s estate was preempted by LIA when claims
were based on violations of federal regulations promulgated under LIA; noting that
“[t]he majority of courts that have addressed the issue have held that the LIA preempts
state common-law tort actions against manufacturers for claims relating to the design
and construction of a locomotive’s parts” and that “[a]ny claim, whether state or
federal, based on LIA standards would necessarily affect the locomotive design,
construction, and material decisions made by railroads” (emphasis added)); Union
Pac. R.R. Co. v. Motive Equip., Inc., 714 N.W.2d 232 (Wis. Ct. App. 2006) (railroad’s
contribution action against manufacturer of refrigerator that was installed in
locomotive and resulted in employee’s injury was preempted under LIA; noting that
majority of courts follow the Napier principle that federal law preempts all state
claims, that “Congress has established the field of locomotive equipment and safety
as one which requires broad preemptive effect,” that Congress did not provide private
right of action for violations of LIA, and that “any claim, including one alleging
contribution/indemnification, will be preempted by federal law if the subject matter
of the claim falls within the preempted field”; criticizing and declining to follow
Engvall as violative of congressional intent to occupy entire field of locomotive
equipment regulation and as the result of “adoption of a public policy unique . . . to
Minnesota”). See also First Sec. Bank v. Union Pac. R.R. Co., 152 F.3d 877 (8th Cir.
1998) (LIA preempted state-law tort claim brought by estate of deceased motorist who

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was struck by train to the extent such claim challenged adequacy of railroad’s warning
horn; citing federal regulation that established minimum sound levels for warning
devices on locomotives); Springston v. Consol. Rail Corp., 130 F.3d 241 (6th Cir.
1997) (LIA preempted injured motorist’s state tort claims against train manufacturer
for not equipping train with warning devices that were “above and beyond those
devices required by federal law”); Law v. Gen. Motors Corp., 114 F.3d 908 (9th Cir.
1997) (Kozinski, J.) (LIA preempts state common-law tort claims brought by railroad
employees against railroad manufacturers for injuries arising out of alleged design
defects; noting “[t]here is no doubt that the Secretary of Transportation has authority
to regulate the design of the parts appellants claim are defective”); Scheiding v. Gen.
Motors Corp., 993 P.2d 996 (Cal. 2000) (LIA preempted railroad employees’
defective-design and failure-to-warn claims under state law; noting that LIA does not
evidence congressional intent to allow state remedies for design defects and that
because federal regulations addressed locomotive insulation, “any failure-to-warn
claims relating to that subject” are preempted).

        BNSF’s complaint broadly references the defendant’s noncompliance with the
LIA, citing 49 U.S.C. § 20701, which provides in part: “A railroad carrier may use
or allow to be used a locomotive or tender on its railroad line only when the
locomotive or tender and its parts and appurtenances . . . are in proper condition and
safe to operate without unnecessary danger of personal injury.” The complaint further
alleges that the defendant failed to “use reasonable care to see that the subject seat was
safe, suitable for its intended use, and in compliance with the LIA”; the defendant
failed to use “reasonable care in the design, manufacture and sale of the subject seat
for its intended purpose”; and the offending seat had a “design defect in the reclining
mechanism [that] made the subject seat unreasonably dangerous for its [] intended use
or for any use Seats, Inc. could have reasonably foreseen.” (Filing 1 ¶¶ 25, 27, 33.)

       As with LIA-preempted tort claims alleging that a locomotive part manufacturer
violated a state negligence standard, tort claims like BNSF’s in this case that are based
on the federal LIA standard of locomotive parts being “in proper condition and safe

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to operate without unnecessary danger of personal injury” would require each court
to evaluate whether certain locomotive parts and equipment comply with the LIA
standard. Such a determination could easily result in one court concluding that a piece
of train equipment meets the standard and another court deciding that the same
equipment is inadequate under the same LIA standard. Obviously, courts will differ
in deciding what meets LIA standards—that is, what constitutes “proper condition,”
whether the equipment at issue is “safe to operate,” and whether the equipment creates
an “unnecessary danger of personal injury.” 49 U.S.C.A. § 20701(1). Differing
decisions on these questions will necessarily undermine the goal of preserving
nationally uniform railroad operating standards—the very rationale for the existence
of the field preemption doctrine in the context of the LIA—and will affect the
locomotive design, construction, and material decisions made by railroads. Roth, 179
F. Supp. 2d at 1062 (“Any claim, whether state or federal, based on LIA standards
would necessarily affect the locomotive design, construction, and material decisions
made by railroads.”).

       As explained in Mehl v. Canadian Pac. Ry., Ltd., 417 F. Supp. 2d 1104, 1120
(D.N.D. 2006), in the context of discussing whether the plaintiff derailment victims’
state-law tort claims against the railroad were preempted by the Federal Railroad
Safety Act and applicable regulations:

      “While federal preemption often means that there is no remedy to a
      claimant, in many instances unfortunately this result is necessary to
      vindicate the intent of Congress. By pervasively legislating the field of
      railroad safety, Congress demonstrated its intent to create uniform
      national standards and to preempt state regulation of railroads. If state
      common law tort claims were permitted to proceed despite this
      Congressional intent, on the ground that the purported tortfeasor had in
      some way allegedly fail[ed] to comply with the federal standards, then
      manufacturers would inevitably b[e] subjected to varying interpretation
      of the federal regulations in the different states. Inevitably, these tort
      actions would generate precisely those inconsistencies in railroad safety
      standards that Congressional action was intended to avoid.”

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Mehl, 417 F. Supp. 2d at 1120 (quoting Ouelette v. Union Tank Car Co., 902 F. Supp.
5, 10 (D. Mass. 1995)) (emphasis added).

       In the absence of clear authority from the Eighth Circuit Court of Appeals or
the Supreme Court involving the factual circumstances alleged here, and in light of
the broad scope of LIA preemption set forth in Napier and Kurns, I decline BNSF’s
invitation to draw a distinction between tort claims based on a state standard of care,
as opposed to the LIA’s federal standard of care, for purposes of LIA preemption.

       Here, the basis of all of BNSF’s claims is the underlying claim that BNSF’s
engineer suffered injury as a result of the defective condition of a locomotive part.
Therefore, BNSF can only recover from the part’s manufacturer if the engineer could
have recovered from the manufacturer himself. If the engineer’s claim would be
preempted, so would BNSF’s claim. Motive Equipment, 714 N.W.2d at 244. Because
the injured engineer’s negligence and product-liability claims may affect “the design,
the construction, and the material” of locomotives, Napier, 272 U.S. at 611, these
claims would fall within the preempted field broadly defined by Napier and Kurns.
Thus, all of BNSF’s claims against the manufacturer of the offending
equipment—each of which is based on whether Seats, Inc., failed to provide
locomotive equipment that was safe, suitable for its intended use, and in compliance
with LIA standards—are also preempted. Motive Equipment, 714 N.W.2d at 247
(“any claim, including one alleging contribution/indemnification, will be preempted
by federal law if the subject matter of the claim falls within the preempted field”
(emphasis added)).

      Because all of BNSF’s claims against Seats, Inc., are preempted under the LIA,
discussion of the remaining grounds for the defendant’s motion to dismiss is
unnecessary.

      Accordingly,


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      IT IS ORDERED:

      1.    The motion to dismiss (Filing 8) filed pursuant to Fed. R. Civ. P. 12(b)(6)
by defendant Seats, Inc., is granted, and this case is dismissed with prejudice;

      2.     Judgment shall be entered by separate document.

      DATED this 23rd day of January, 2017.

                                        BY THE COURT:
                                        s/ Richard G. Kopf
                                        Senior United States District Judge




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